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                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON


UNITED STATES OF AMERICA                            3:17-cr-00248-BR

               v.                                   GOVERNMENT’S SENTENCING
                                                    MEMORANDUM
ARTURO AISPURO,
                                                    Sentencing: February 20, 2019,
               Defendant.                           at 11:00 a.m.


       Defendant conspired to distribute methamphetamine and abused hundreds of roosters by

raising and training them to participate in cockfights. A seventy-eight month sentence is

appropriate in this case.

                                         BACKGROUND

       Defendant was a member of a criminal conspiracy to distribute methamphetamine in and

around Salem, Oregon. (Plea Agreement Factual Basis at ¶ 6, Docket No. 35.) In furtherance of

this conspiracy, defendant, with assistance from a co-conspirator, sold 882 grams of

methamphetamine (actual) to a confidential informant in Milwaukie, Oregon, on or about April
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13, 2017. (Id.) On or about May 3, 2017, near Tigard, law enforcement intercepted defendant as

he transported approximately 442 grams of methamphetamine (actual) for further distribution.

(Id.)

        On June 13, 2017, DEA agents executed a search warrant at defendant's Salem residence

and found marijuana, a small amount of cocaine, body armor, a digital scale, vacuum sealers, and

more than 20 firearms.




Items Found during Execution of Search Warrant at Defendant’s Residence. (Bates No.
429.)

        Agents also found and seized cockfighting literature, vitamins and supplements used to

increase roosters’ stamina, and sets of gaffs (sharp metal spurs that attach to a rooster’s legs).
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(Bates No. 414.)




(Bates No. 784.)
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(Bates No. 454.)

         Investigators also executed a search warrant on defendant’s ranch in Scio, Oregon, where

they found more than 200 roosters that were being raised and trained to participate in cockfights.

This included removal of the roosters' combs and wattles to make them more effective fighting

birds.




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A partial view of the ranch in Scio, Oregon. (Bates No 779.)




One of the more than 200 roosters found at the ranch. (Bates No. 776.)
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Another picture from the ranch in Scio, Oregon. (Bates No 768.)

       On June 12 2018, defendant pleaded guilty to Count One of the Indictment in Case No.

3:17-cr-00248-BR, which charged Conspiracy to Distribute Methamphetamine, in violation of

Title 21, U.S.C. §§ 84l(a)(l), 84l(b)(l)(A)(viii), and 846. Defendant also pleaded guilty to Count

5 of the Indictment, charging Training and Sale of Fighting Animals, in violation of 7 U.S.C. §

2156(b). As part of his plea colloquy, defendant admitted that he raised and sold roosters to

buyers who used the birds in cockfighting derbies. Some of these derbies occurred in states other

than Oregon. Defendant sold his best fighting roosters for $400.00 - $500.00 per bird.

       At the time of defendant’s plea, the parties executed a plea agreement. Its salient terms

are as follows:


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       •    Relevant Conduct (methamphetamine): The parties agree the base offense level is
            34, because the relevant conduct includes at least 1,324 grams of methamphetamine
            (actual).

       •    Firearms Enhancement: The parties agree that a 2-level enhancement applies under
            § 2D 1.1(b)(1), because defendant possessed a dangerous weapon.

       •    Sentencing Recommendation: So long as defendant continues to demonstrate an
            acceptance of responsibility, the government agrees to recommend a sentence at the
            low end of the applicable guideline range. Defendant reserves the right to seek a
            further downward variance.

       •    Dismissal of charges: At sentencing, the government will move to dismiss the
            remaining charges against defendant.

       •    Waiver of Appeal/Post-Conviction Relief: Defendant agreed to waive appeal and
            post-conviction relief with the standard exceptions.

       •    Forfeiture of Seized Assets: Defendant agrees to forfeiture of the firearms and
            ammunition seized by law enforcement in this case.

       The Court ordered a pre-sentence report (PSR) and sentencing is now scheduled for

February 20, 2019, at 11:00 a.m.

                 GOVERNMENT’S SENTENCING RECOMMENDATION

       For Count 1, the government recommends a sentence at the low end of the properly

calculated guideline range: seventy-eight months’ imprisonment. The government agrees with

the calculations included in the PSR, including defendant’s relevant conduct, the grouping of the

offenses, the total adjusted offense level, and defendant’s criminal history category. Because

defendant continues to demonstrate his acceptance of responsibility, the government

recommends a low-end guidelines sentence.




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       A sentence of seventy-eight months’ imprisonment is reasonable here given defendant’s

significant role in trafficking more than a kilogram of methamphetamine, and his possession of

numerous firearms. (PSR ¶¶ 19, 21-23.) A sentence of this duration also properly considers

defendant’s very limited criminal history. A seventy-eight month sentence will provide adequate

punishment for defendant and protect the community from defendant’s crimes, all while also

satisfying the requirement of 18 U.S.C. § 3553(a), as a “sentence sufficient, but not greater than

necessary” to meet the purposes of § 3553(a)(2). As to Count 5 (Training and Raising Fighting

Birds), the government recommends a concurrent sentence of twenty-one months’ imprisonment,

three years of supervised release, and a $100 fee assessment.

                                         CONCLUSION

       Based on the foregoing, the government recommends a sentence on Count 1 of the

Indictment of seventy-eight months’ imprisonment, five years of supervised release, and a $100

assessment. As to Count 5, the government recommends a concurrent sentence of twenty-one

months’ imprisonment, three years of supervised release, and a $100 fee assessment.

Dated: February 13, 2019                             Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney


                                                     s/ Peter D. Sax
                                                     PETER D. SAX
                                                     Assistant United States Attorney




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